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 9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
12
     CHESTER STEELE, FRANCISCO                 Case No.: 2:17-cv-04323
13   CAMPOS and ANGELINE
     KROLNIK-CAMPOS, individually,             FIRST AMENDED CLASS ACTION
14   and on behalf of a class of similarly     COMPLAINT FOR:
     situated individuals,
15                                             (1) Violations of California’s
                  Plaintiffs,                      Consumers Legal Remedies Act
16                                             (2) Violations of Unfair Competition
           v.                                      Law
17                                             (3) Breach of Implied Warranty
     GENERAL MOTORS LLC, a                         pursuant to Song-Beverly
18   Delaware limited liability company.           Consumer Warranty Act
                                               (4) Breach of Implied Warranty
19                Defendant.                       pursuant to the Magnuson-Moss
                                                   Warranty Act
20
                                               DEMAND FOR JURY TRIAL
21
22
23
24
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26
27
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 1                                  INTRODUCTION
 2         1.    Plaintiffs Chester Steele, Francisco Campos, and Angeline Krolnik-
 3   Campos (“Plaintiffs”) bring this action for themselves and all persons in the
 4   United States who purchased or leased any 2010-2015 Cadillac SRX
 5   (collectively, “Cadillac Vehicles” or “Class Vehicles”) designed, manufactured,
 6   marketed, distributed, sold, warranted, and serviced by General Motors LLC, a
 7   Delaware limited liability company (“GM” or “Defendant”).
 8         2.    This case arises out of a defect in the Class Vehicles’ headlights that
 9   causes the headlights to wear-out and fail unexpectedly and prematurely.
10         3.    Specifically, on information and belief, Plaintiffs allege that the
11   seals used in Class Vehicles’ headlights’ exterior housing units wear-out or
12   deteriorate, allowing moisture to accumulate and condense from the air that
13   flows through their vents. The design of the housing units’ vents is also defective
14   in that it further compromises the flow and exchange of air through the
15   improperly sealed headlights. The pooling condensation causes the headlights to
16   malfunction or the bulbs to fail, by corroding lamp assembly components like the
17   igniter and/or causing electrical shorts, among other problems (the “Headlight
18   Defect”).
19         4.    On or around June 2012, in fact, the New York times published an
20   article regarding an investigation by the National Highway Traffic Safety
21   Administration (“NHTSA”) complaints about low-beam headlight failures in
22   almost 250,000 2007-2009 Saturn Outlooks and GMC Acadias.1 “According to a
23   bulletin from General Motors,” the newspaper reported, “the problem, which
24   only affects vehicles with halogen headlights, may also exist in about 93,000
25   more vehicles, including models from 2010 as well as the 2008-10 Cadillac CTS
26
           1
             Christopher Jensen, “Government Considers Investigating G.M.
27   Crossovers for Headlight Failures,” The New York Times (June 29, 2012 at
     10:52am), https://wheels.blogs.nytimes.com/2012/06/29/government-considers-
28   investigating-g-m-crossovers-for-headlight-failures/?mcubz=0.
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 1   and 2010 Cadillac SRX.”
 2         5.     As a result of the Headlight Defect, the Class Vehicles present a
 3   safety hazard and are unreasonably dangerous to consumers. As it progresses,
 4   the Headlight Defect can result in very dim light output or no light at all. Such
 5   malfunctions will necessarily result in low visibility at best, which can contribute
 6   to injurious, or even fatal, traffic accidents. Hundreds of Class Members have
 7   complained to NHTSA and in informal forums online, some of which Defendant
 8   or its agents monitor, about the Headlight Defect and associated safety
 9   concerns.2 For example, Auto Recalls for Consumers (ARFC) is a website that
10   re-publishes NHTSA complaints. The site included a complaint by the owner of
11   a 2010 SRX owner, originally published on June 7, 2011, regarding problems
12   with the car’s headlights:
13         THE CONTACT OWNS A 2010 CADILLAC SRX. THE CONTACT
14         WAS DRIVING APPROXIMATELY 60 MPH WITH THE LOW BEAM
15         HEADLIGHTS IN ACTIVATION HOWEVER, THEY EXHIBITED
16         EXTREMELY POOR LIGHTING. THE HEADLIGHTS FAILED TO
17         ILLUMINATE THE ENTIRE ROAD. THE VEHICLE WAS TAKEN TO
18         AN AUTHORIZED DEALER WHERE THEY DID NOT HAVE THE
19         PROPER EQUIPMENT TO PERFORM A DIAGNOSIS ON THE
20         HEADLIGHTS. THE VEHICLE WAS NOT REPAIRED. THE
21         MANUFACTURER WAS MADE AWARE OF THE PROBLEM. THE
22         APPROXIMATE FAILURE MILEAGE WAS 100.3
23
           2
24            For example, threads posted by consumers on an online forum called
     CadillacOwners.com includes responses by Cadillac Customer Service
25   Representatives. See, e.g., “Headlight Condensation,” posted by Cataract
     regarding his 2007 STS-V and initiated on June 11, 2010, available at
26   http://www.cadillacforums.com/forums/cadillac-sts-v-series-forum/202351-
     headlight-condensation.html (last visited Sep. 15, 2017).
27          3
              The incident occurred in Palestine, TX, and was posted on June 7, 2011,
     available at http://www.arfc.org/complaints/2010/cadillac/srx/10405415.aspx
28   (last visited Sep. 15, 2017).
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 1         6.     Another more recent complaint, posted on November 11, 2016 at
 2   CarProblemZoo.com, exemplifies not only the persistence of the problems, but
 3   also the risk associated with them: “The headlights on the 2010 Srx fill with
 4   moisture decreasing the light and make it unsafe to operate the vehicle at night
 5   without using high beams. This problem has caused repeated stop by police to
 6   warn of low visibility with the affected headlights.”4
 7         7.     Since 2011, in an effort to address owner complaints regarding the
 8   Headlight Defect, GM has issued a Customer Satisfaction Program and several
 9   Technical Service Bulletins (“TSBs”), as discussed below. However, these
10   efforts have been entirely inadequate in resolving the Headlight Defect or
11   providing relief.
12         8.     In fact, rather than redesigning the defective components, GM
13   purports to “repair” the Class Vehicles by simply replacing defective
14   components with the same defective components. Further, Class Vehicle owners
15   incur out-of-pocket costs for these repairs because GM refuses to extend the
16   warranty to cover them or issue a recall to prevent them. GM thus unfairly shifts
17   the costs to the Class Members and benefits from the revenue generated by
18   repeated repairs. Accordingly, consumers will be required to pay hundreds, if not
19   thousands, of dollars to repair or replace the headlights and related components
20   as a result of the Headlight Defect, and GM is unjustly enriched at their expense.
21         9.     On information and belief, all the Class Vehicles are equipped with
22   the same or substantially identical headlight assemblies, and the Headlight
23   Defect is the same for all Class Vehicles.
24         10.    Beginning as early as 2010, through consumer complaints and
25   dealership repair orders, among other internal sources in GM’s exclusive custody
26
           4
             “Headlight problems of the 2010 Cadillac SRX: Failure Date:
27   11/09/2016,” available at
     http://www.carproblemzoo.com/cadillac/srx/headlights-problems2.php (last
28   visited Sep. 15, 2017).
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 1   and control, Defendant knew or should have known that the Class Vehicles and
 2   their headlights had a design defect that adversely affects the Class Vehicles’
 3   operation and creates safety hazards. Nevertheless, Defendant has actively
 4   concealed and failed to disclose this defect to Plaintiffs and Class Members prior
 5   to the time of purchase or lease and thereafter.
 6         11.    On information and belief, Defendant’s corporate officers, directors,
 7   or managers knew about the Headlight Defect and failed to disclose it to
 8   Plaintiffs and Class Members, at the time of sale, lease, repair, and thereafter.
 9         12.    Because GM will not notify Class Members that the headlights are
10   defective, Plaintiffs and Class Members (as well as members of the general
11   public) remain subject to symptoms that create dangerous and unexpected
12   driving hazards.
13         13.    The alleged Headlight Defect is inherent and was present in all the
14   Class Vehicles at the time of sale.
15         14.    GM knew about and concealed the inherent Headlight Defect, along
16   with the attendant dangerous safety concerns, from Plaintiffs and Class
17   Members, at the time of sale, lease, repair, and thereafter. In fact, instead of
18   resolving the defects in the headlights, GM either refused to acknowledge their
19   existence or performed repairs that simply masked their effects.
20         15.    If they had known about these defects at the time of sale or lease,
21   Plaintiffs and Class Members would have paid less for the Class Vehicles or
22   would not have purchased or leased them at all.
23         16.    As a result of their reliance on Defendant’s omissions, owners
24   and/or lessees of the Class Vehicles suffered an ascertainable loss of money,
25   property, and/or value of their Class Vehicles, including expenses for headlight-
26   related repairs. Additionally, as a result of the Headlight Defect, Plaintiffs and
27   Class Members were harmed and suffered actual damages in that the Class
28   Vehicles’ headlight assemblies and their components are substantially certain to

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 1   fail before their expected useful lives have run.
 2                                    THE PARTIES
 3   Plaintiff Chester Steele
 4         17.    Plaintiff Chester Steele (“Plaintiff”) is a California citizen who
 5   resides in Yreka, California.
 6         18.    On or around October 12, 2012, Plaintiff purchased a Certified Pre-
 7   Owned 2010 Cadillac SRX from Jessup Auto Plaza Cathedral City, an
 8   authorized Cadillac dealer in Riverside County.
 9         19.    Prior to purchasing his Class Vehicle, Plaintiff saw television
10   commercials, magazine advertisements, magazine reviews, reviewed the
11   windshield “Monroney” sticker provided by GM, and test drove the SRX with a
12   dealership employee.
13         20.    Plaintiff Steele’s Class Vehicle has and continues to exhibit the
14   Headlight Defect described herein, and Plaintiff has suffered a loss as a result.
15         21.    Specifically, during the first week of October 2016, Plaintiff Steele
16   drove from his home in Yreka to Palm Springs. Before he left, he noticed
17   condensation in both headlights, which made the lenses look gray. He polished
18   the headlights to diminish the discoloration but the fogging remained. It began to
19   rain while he was driving, and he noticed a significantly increased accumulation
20   of moisture in the headlamp assemblies. Finally, at the end of January 2017, the
21   driver side bulb failed at approximately 51,600 miles. As a result of this failure,
22   Plaintiff was forced to drive in the dark with only one headlight.
23         22.    On or about January 27, 2017, Plaintiff Steele complained to Jessup
24   Auto Plaza, an authorized GM repair facility, about his failed headlight. The
25   dealer advised that moisture in the assembly had corroded the igniter, causing it
26   to short out. The dealer charged Mr. Steele $660.29 to repair the driver side
27   headlight. The dealer did not address the moisture in the passenger-side
28   headlight.

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 1           23.    Plaintiff Steele continues to experience issues headlights, whereby
 2   both headlights are cloudy, and fears they can dim or fail at any time without
 3   warning.
 4           24.    Plaintiff Steele purchased his vehicle primarily for personal, family,
 5   or household use. GM manufactured, sold, distributed, advertised, marketed,
 6   and warranted the vehicle.
 7           25.    Had GM disclosed its knowledge of the Headlight Defect before he
 8   purchased his vehicle, Plaintiff Steele would have seen or heard such disclosures
 9   and been aware of them. Indeed, GM’s omissions were material to him. Like all
10   members of the Class, Plaintiff Steele would have paid less for his Class Vehicle
11   or would not have purchased it, had he known of the Headlight Defect.
12           26.    At all times, Plaintiff Steele, like all Class Members, has driven his
13   vehicle in a foreseeable manner and in the manner in which it was intended to be
14   used.
15   Plaintiffs Francisco Campos and Angeline Krolnik-Campos
16           27.    Plaintiffs Francisco Campos and Angeline Krolnik-Campos
17   (“Plaintiffs”) are California citizens who reside in North Hills, California.
18           28.    In or around June 2014, Plaintiffs purchased a used 2011 Cadillac
19   SRX with approximately 4,000 miles on the odometer from W.I. Simonson, an
20   authorized Mercedes Benz dealer in Los Angeles County.
21           29.    Prior to purchasing their Class Vehicle, Plaintiffs reviewed GM’s
22   SRX marketing materials, including the vehicle’s brochure, and Plaintiff
23   Krolnik-Campos test drove the vehicle at an auto show before deciding to
24   purchase it.
25           30.    Plaintiffs’ Class Vehicle has and continues to exhibit the Headlight
26   Defect described herein and Plaintiffs have suffered a loss as a result.
27           31.    Specifically, in or around February 2017, at approximately 27,000
28   miles, Plaintiff Krolnik-Campos noticed condensation in the headlights, which

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 1   worsened noticeably when it rained, and complained to Martin Cadillac, an
 2   authorized GM dealership in Santa Monica, California. The service advisor told
 3   her there was nothing they could do about it and cautioned that they would have
 4   to remove the bumper in the event the headlights had to be replaced.
 5           32.   In or around May 2017, Plaintiffs had both headlights replaced by
 6   Martin Cadillac at a cost to them of approximately $1,600.
 7           33.   Plaintiffs do not believe that replacing the headlights on their Class
 8   Vehicle has resolved the problem and fear the headlights may fail at any time
 9   without warning.
10           34.   Plaintiffs purchased their vehicle primarily for personal, family, or
11   household use. GM manufactured, sold, distributed, advertised, marketed, and
12   warranted the vehicle.
13           35.   Had GM disclosed its knowledge of the Headlight Defect before
14   they purchased the vehicle, Plaintiffs would have seen or heard such disclosures
15   and been aware of them. Indeed, GM’s omissions were material to Plaintiffs.
16   Like all members of the Class, Plaintiffs would have paid less for their Class
17   Vehicle or would not have purchased it all, had they known of the Headlight
18   Defect.
19           36.   At all times, Plaintiffs, like all Class Members, have driven their
20   vehicle in a foreseeable manner and in the manner in which it was intended to be
21   used.
22   Defendant
23           37.   Defendant General Motors LLC is a Delaware limited liability
24   company with its principle place of business located at 300 Renaissance Center,
25   Detroit, Michigan. General Motors LLC is registered to do business in the State
26   of California. The sole member and owner of General Motors LLC is General
27   Motors Holdings LLC. General Motors Holdings LLC is a Delaware limited
28   liability company with its principle place of business in the State of Michigan.

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 1   General Motors Holdings LLC’s only member is General Motor Company, a
 2   Delaware corporation with its principal place of business in the State of
 3   Michigan. General Motors Company has 100% ownership interest in General
 4   Motors Holdings LLC.
 5         38.    General Motors LLC, through its various entities, designs,
 6   manufactures, markets, distributes, services, repairs, sells, and leases passenger
 7   vehicles, including the Class Vehicles, nationwide and in California. General
 8   Motors LLC is the warrantor and distributor of the Class Vehicles in the United
 9   States.
10         39.    At all relevant times, Defendant was and is engaged in the business
11   of designing, manufacturing, constructing, assembling, marketing, distributing,
12   and selling automobiles and motor vehicle components in Riverside County and
13   throughout the United States of America.
14                                       JURISDICTION
15         40. This is a class action.
16         41.    Plaintiffs and other members of the Proposed Class are citizens of
17   states different from the home state of Defendant.
18         42.    On information and belief, aggregate claims of individual Class
19   Members exceed $5,000,000.00 in value, exclusive of interest and costs.
20         43. Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(d).
21                                          VENUE
22         44.    GM, through its business of distributing, selling, and leasing the
23   Class Vehicles, has established sufficient contacts in this district such that
24   personal jurisdiction is appropriate. Defendant is deemed to reside in this district
25   pursuant to 28 U.S.C. § 1391(a).
26         45.    In addition, a substantial part of the events or omissions giving rise
27   to these claims took place in this district. Plaintiff Steele purchased his 2010
28   Cadillac SRX, which is the subject of this action, from Jessup Auto Plaza

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 1    Cathedral City, an authorized GM dealer in Riverside County, California.
 2    Plaintiff Campos and Plaintiff Kolnik-Campos purchased their 2011 Cadillac
 3    SRX from W.I. Simonson, an authorized Mercedes dealership in Los Angeles,
 4    County, California.
 5          46.     In addition, Plaintiff Steele’s Declaration, as required under
 6    California Civil Code section 1780(d) but not pursuant to Erie and federal
 7    procedural rules, reflects that a substantial part of the events or omissions giving
 8    rise to the claims alleged herein occurred in Riverside County, California. It is
 9    attached as Exhibit 1.
10          47. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a).
11                              FACTUAL ALLEGATIONS
12          48.    Since 2010, GM has designed, manufactured, distributed, sold, and
13    leased the Class Vehicles. GM has sold, directly or indirectly, through dealers
14    and other retail outlets, thousands of Class Vehicles equipped with the defective
15    headlights in California and nationwide.
16          49.    Plaintiffs are informed and believe, and based thereon allege, that
17    the seals in the Class Vehicles’ headlight assemblies wear-out or deteriorate
18    unexpectedly and prematurely, allowing moisture to accumulate and damage the
19    assemblies’ internal components. Plaintiffs are also informed and believe, and
20    thereon allege, that the design of the vents that allow air flow to maintain
21    pressure and prevent the lenses from cracking increases the tendency for water to
22    accumulate and condense the housing units. These defects result in damage to
23    assembly components, such as corroding igniters and burnt-out bulbs.
24          50.    The Class Vehicles are unreasonably dangerous to consumers
25    because the Headlight Defect prevents their safe operation. For example, as the
26    Headlight Defect progresses, the excessive accumulation of water or
27    condensation can damage crucial components – like the igniter and the bulb -
28    resulting in diminished light output or catastrophic failure. Malfunctioning or

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 1    inoperative headlights impair drivers’ ability to operate the vehicles safely and
 2    contribute to accidents, particularly after dusk, before dawn, or in inclement
 3    weather by decreasing drivers’ visibility and making the Class Vehicles
 4    themselves more difficult for other drivers or pedestrians to see.
 5          51.    The alleged Headlight Defect is inherent in all Class Vehicles, and
 6    the Headlight Defect is the same for all Class Vehicles.
 7          52.    Since at least 2010, GM was aware of the defective nature of the
 8    headlights but failed to it to consumers. This failure has damaged Plaintiffs and
 9    Class Members.
10             The Headlight Defect Poses an Unreasonable Safety Hazard
11          53.    As discussed above, the Headlight Defect impairs or prevents
12    putative Class Members from driving the Class Vehicles safely. Hazards include
13    very dim light output that diminishes visibility or catastrophic failures that
14    effectively preclude visibility. Driving with poor visibility due to such
15    conditions presents danger to putative Class Members, other drivers, and
16    pedestrians by significantly increasing the risk of collisions. No consumer
17    expects to purchase or lease a vehicle that may be non-operational at before
18    dawn, after dusk, or in inclement weather, and the safety risk is objectively
19    unreasonable.
20          54.    Many purchasers and lessees of the Class Vehicles have experienced
21    problems with the headlights. Complaints filed by consumers with NHTSA and
22    elsewhere online demonstrate that the defect is widespread and dangerous and
23    that it manifests without warning. The complaints also indicate Defendant’s
24    awareness of the headlights’ defective nature and its attendant hazards for
25    consumers and the general public. The following are a selection of complaints,
26    among the hundreds filed with NHTSA, relating to the Headlight Defect, its
27    persistence, and its associated risks (spelling and grammar mistakes remain as
28    found in the original) (Safercar.gov, Search for Safety Issues (June 8, 2017).

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 1    2010 Cadillac SRX
 2         a. June 7, 2011 TL* THE CONTACT OWNS A 2010 CADILLAC SRX.
              THE CONTACT WAS DRIVING APPROXIMATELY 60 MPH
 3            WITH THE LOW BEAM HEADLIGHTS IN ACTIVATION
              HOWEVER, THEY EXHIBITED EXTREMELY POOR LIGHTING.
 4            THE HEADLIGHTS FAILED TO ILLUMINATE THE ENTIRE
              ROAD. THE VEHICLE WAS TAKEN TO AN AUTHORIZED
 5            DEALER WHERE THEY DID NOT HAVE THE PROPER
              EQUIPMENT TO PERFORM A DIAGNOSIS ON THE
 6            HEADLIGHTS. THE VEHICLE WAS NOT REPAIRED. THE
              MANUFACTURER WAS MADE AWARE OF THE PROBLEM.
 7            THE APPROXIMATE FAILURE MILEAGE WAS 100.
 8         b. January 7, 2012 THE LOW BEAMS ON THE CAR ARE VERY
              POOR, EVEN ON A CLEAR NIGHT. IF DRIVING IN THE RAIN
 9            IT IS MUCH WORSE. *TR
10         c. March 25, 2013 PASSENGER SIDE HEAD LIGHT HAS ONGOING
              ELECTRICAL SHORT GOES OUT INDICATES ON THE
11            INFORMATION CENTER THEN WILL RANDOMLY COME
              BACK ON TOOK IT IN TO THE DEALER NO FIX….*TR
12
           d. October 29, 2014 BOTH HEADLIGHTS QUIT WORKING, HIGH
13            BEAMS AND LOW BEAMS. STARTED VEHICLE AT NIGHT
              AND THE VEHICLE DID NOT HAVE ANY HEADLIGHTS. *TR
14
           e. November 6, 2014 PASSENGER HEADLIGHT (SEALED BEAM)
15            FAILED TO TURN ON 2 DAYS AGO. I ASSUMED IT WAS A
              BULB, BUT THE DEALER IDENTIFIED IT AS A SHORT DUE TO
16            WATER AND CONDENSATION ACCUMULATION INSIDE THE
              HOUSING. THE LIGHT DID COME BACK ON FOR A SHORT
17            TIME WHILE DRIVING TO THE DEALERSHIP, BUT WAS OFF
              AGAIN UPON ARRIVAL. DEALER STATED THE OTHER
18            LIGHT WOULD BE AFFECTED SOON AS WELL, BASED ON
              WATER INSIDE IT TOO. I HAVE THE HIGHEST LEVEL
19            EXTENDED WARRANTY PLAN (GM MAJOR GUARD), BUT
              THE SEALED BEAM HEADLIGHTS ARE EXCLUDED FROM
20            THIS PLAN. DEALER QUOTED COST OF $1,800 PER LIGHT,
              TOTAL OF $3,600 TO REPAIR. THIS IS A DESIGN FLAW,
21            BASED ON NUMEROUS CADILLAC COMPLAINTS AS WELL
              AS NOTES FOUND ON NHTSA. IN IT'S CURRENT STATE, THE
22            VEHICLE IS NOT DRIVABLE IN LOW VISIBILITY
              CONDITIONS OR AT NIGHT BECAUSE THE HEADLIGHTS
23            HAVE FAILED DUE TO A DESIGN FLAW. DEALER WILL NOT
              REPAIR UNDER WARRANTY, AND WITHOUT REPAIR THE
24            VEHICLE WILL NOT EVEN PASS A STATE SAFETY
              INSPECTION. THIS IS A RECALL WORTHY FAULT WHICH
25            COULD LEAD TO LOSS OF LIFE IF FAULT OCCURS IN LOW
              VISIBILITY OR NIGHT DRIVING, AND RENDERS THE
26            VEHICLE UNSAFE AS IT WILL NOT PASS STATE SAFETY
              INSPECTION. PLEASE FORCE GM TO ISSUE RECALL ON THIS
27            ISSUE. I AM CURRENTLY TRYING TO FIGURE OUT HOW TO
              PAY ALMOST $4,000 ON MY $56K VEHICLE TO GET IT
28            DRIVABLE AGAIN, WHEN IT'S UNDER THE PREMIERE

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 1            WARRANTY PLAN. THIS POLICY IS UNSATISFACTORY AT
              BEST. *TR
 2
           f. December 1, 2014 I OWN A 2010 CADILLAC SRX. THE
 3            PASSENGER HEADLAMP HAS ACCUMULATED SOME
              CONDENSATION. AS I WAS READING ONLINE THIS IS A
 4            KNOWN FLAW OF DESIGN FOR THIS MODEL (EVEN 2013
              MODELS) THAT GM IS AWARE OF. AS THE HOLIDAY
 5            APPROACHED WE TRAVELED OUT OF TOWN. AS WERE
              WERE LEAVING I WAS TOLD BY A FAMILY MEMBER THAT
 6            MIGHT PASSENGER HEADLAMP WAS INOPERABLE. SO MY
              GUESS WAS THAT IT WAS EITHER A SAFETY MECHANISM
 7            THAT THE CAR WILL SHUT THE LIGHT OUT TO PREVENT A
              SHORT OR WORST A FIRE. WELL IT WAS COMPLETE
 8            OPPOSITE. THIS MORNING MY LOCAL CADILLAC
              DEALERSHIP HAS CONCLUDED THE THE KNOWN FLAW IN
 9            THE HEADLAMP ACTUALLY SHORTED OUT MY BULD. NOW
              I HAVE RECEIVED A QUOTE FOR OVER $1000++ TO REPLACE
10            A FLAW IN THEIR DESIGN. HOW IS THIS GOOD BUSINESS?
              IF IT IS A KNOWN ISSUE TAKE CARE OF IT RIGHT? THIS IS A
11            DESIGN FLAW, BASED ON NUMEROUS CADILLAC
              COMPLAINTS AS WELL AS NOTES FOUND ON THIS VERY
12            NHTSA WEBSITE. IN IT'S CURRENT STATE, THE VEHICLE IS
              NOT DRIVABLE IN LOW VISIBILITY CONDITIONS OR AT
13            NIGHT BECAUSE THE HEADLIGHTS HAVE FAILED DUE TO
              A DESIGN FLAW. DEALER WILL NOT REPAIR UNDER
14            EXTENDED WARRANTY, AND WITHOUT REPAIR THE
              VEHICLE WILL NOT EVEN PASS A STATE SAFETY
15            INSPECTION. THIS IS A RECALL WORTHY FAULT WHICH
              COULD LEAD TO LOSS OF LIFE IF FAULT OCCURS IN LOW
16            VISIBILITY OR NIGHT DRIVING, AND RENDERS THE
              VEHICLE UNSAFE AS IT WILL NOT PASS STATE SAFETY
17            INSPECTION. PLEASE FORCE GM TO ISSUE RECALL ON THIS
              ISSUE. *JS
18
           g. December 1, 2014 THE RIGHT EXTERIOR LOW BEAM LIGHT
19            WAS OUT AND THE HOUSING UNIT WAS FULL OF
              EXCESSIVE MOISTURE. ON SEPTEMBER 2, 2014; BULB
20            REPLACED; LIGHT OUT AGAIN BY THE END OF THE MONTH
              FOR A WEEK THEN ALL OF A SUDDEN BACK ON AGAIN;
21            THEN OUT AGAIN AND ON AGAIN; ESTIMATED COST OF
              PARTS WERE $1,459 PLUS TAX AND S.S. NOW ONLY THE
22            RUNNING LIGHTS ON THE LEFT AND RIGHT SIDE ARE
              WORKING. NOW TRY 1,459 PLUS TAX AND S.S.. TIMES 2.
23            THIS IS A DESIGN FLAW. WHY SO MUCH MOISTURE AN
              ELECTRICAL LIGHTENING UNIT? THE LEFT SIDE DOES NOT
24            HAVE A LOT OF MOISTURE AND THE LIGHT IS NO LONGER
              WORKING. NOTHING MORE UPSETTING THAN BEING
25            AWAY FROM HOME, ITS DARK AND YOUR VEHICLE
              HEADLIGHTS WILL NOT COME ON. *JS
26
           h. December 10, 2014 LEFT LOW BEAM LIGHT WARNING CAME
27            ON, TOOK IT TO SHOP TO CHANGE BULB, MECHANIC HAS
              CHANGED THE BULB, CHANGED THE BALLAST AND IT
28            STILL DOESNT WORK, WHATS THE PROBLEM WITH THE

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  1            LEFT LIGHT NOT WORKING? *TR
  2         i. December 30, 2014 THERE WAS AN ERROR MESSAGE IN MY
               DISPLAY TO CHECK PASSENGER LOW BEAM. I HAD THE
  3            PASSENGER HEADLAMP REPLACED AT A CADILLAC
               DEALERSHIP AT A COST OF $369.00. I LEFT THE
  4            DEALERSHIP AND DROVE TO MY DESTINATION DURING
               THE DAYLIGHT HOURS. WHEN I LEFT MY DESTINATION IT
  5            HAD GOTTEN DARK AND WHILE DRIVING THE HEADLAMP
               STOPPED WORKING. I HAVE SINCE FOUND OUT THAT THE
  6            SEAL ON THE HEADLAMP IS NO GOOD THEREFORE
               ALLOWING MOISTURE TO DEVELOP INSIDE THE
  7            HEADLAMP WHICH CAUSES THE PROBLEM. I HAVE FOUND
               THROUGH RESEARCH THAT THIS APPEARS TO BE A DESIGN
  8            FLAW WITH THIS MODEL AND MANY PEOPLE HAVE HAD
               LOSS OF HEADLIGHTS AT TIMES WHEN IT WOULD POSE A
  9            SAFETY ISSUE. THE REPAIR IS VERY COSTLY
               (APPROXIMATELY $1400 PER HEADLAMP). THERE IS
 10            MOISTURE IN THE DRIVERS SIDE HEADLAMP AS WELL SO
               IT STANDS TO REASON THAT IT IS JUST A MATTER OF TIME
 11            BEFORE THAT LAMP STOPS WORKING. I ONLY HAVE 73,000
               MILES ON THE CAR AND WITHOUT SPENDING $3000 TO
 12            RECTIFY THE PROBLEM, I COULD FIND MYSELF WITH NO
               LIGHTS WHILE DRIVING AT NIGHT. THIS IS IN MY OPINION
 13            MOST DEFINITELY A POTENTIAL SAFETY ISSUE! *JS
 14         j. January 21, 2015 THE HEAD LIGHT LENS LEAK AT THE SEAM.
               BOTH HEAD LIGHTS ARE EFFECTED. MOISTURE
 15            ACCUMULATES INSIDE THE LENS AND DISTORTS THE
               HEAD LIGHT BEAM. THIS REDUCES THE CLARITY AND
 16            EFFECTIVENESS OF THE HEAD LIGHTS. I HAVE REPLACED
               ONE HEADLIGHT AT 45,000 MILES. THE HEAD LIGHT SEAL
 17            LEAKS WATER. POOR MANUFACTURING AND A SAFETY
               CONCERN. THERE SHOULD BE A RECALL. *TR
 18
      2011 Cadillac SRX
 19
            k.    February 15, 2012 TL* THE CONTACT OWNS A 2011
 20         CADILLAC SRX. WHILE DRIVING APPROXIMATELY 45 MPH
            WITH THE HEADLIGHTS ACTIVATED, THE AMBER
 21         ILLUMINATION       BECAME    EXTREMELY    DIM   WHICH
            OBSTRUCTED THE VISIBILITY OF THE CONTACT. THE
 22         FAILURE RECURRED WHENEVER THE CONTACT WOULD
            DRIVE WITH HEADLIGHTS ACTIVATED. THE VEHICLE WAS
 23         TAKEN TO AN AUTHORIZED DEALER WHO WAS UNABLE TO
            PROVIDE ASSISTANCE. THE MANUFACTURER WAS NOTIFIED
 24         OF THE PROBLEM. THE APPROXIMATE FAILURE MILEAGE
            WAS 10,000. UPDATED 07/05/12*LJ HE CONSUMER STATED THE
 25         HEADLIGHTS LIGHTS WERE AMBER IN COLOR AND DIDN'T
            ILLUMINATE PROPERLY WHILE DRIVING AT NIGHT. UPDATED
 26         07/10/12.
 27         l. January 5, 2013 THE HEADLIGHTS - LOW BEAM - ARE THE
            WORST. I'VE BEEN DRIVING FOR OVER 40 YEARS. WHEN I
 28         COMPLAINED TO THE DEALERSHIP (CRESTVIEW CADILLAC -

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  1         WEST COVINA, CA) THAT THEY WERE SO BAD I BELIEVED IT
            IS DANGEROUS TO DRIVE AT NIGHT, THEY SAID THEY DIDN'T
  2         GET ANY COMPLAINTS FROM OTHER DRIVERS! I HAVE TO
            USE MY HIGH BEAMS ALL THE TIME TO BE SAFE. I HAVE HAD
  3         PASSENGERS TELL ME I DON'T HAVE MY HEADLAMPS ON!!
            IT'S A VERY REAL PROBLEM. I HAVE FOUND SEVERAL
  4         COMPLAINT PAGES ON LINE. I BELIEVE THEY SHOULD DO A
            RECALL ON THESE CARS AND FIX THE PROBLEM. IF I GO TO
  5         AFTER MARKET, I'M AFRAID ILL NULLIFY MY WARRANTY.
            PLEASE HELP! *TR
  6
            m.   October 23, 2013 THE LOW BEAM HEADLIGHTS ARE VERY
  7         DIM. THEY DO NOT REACH OUT LIKE THEY SHOULD. DEALER
            TELLS ME THAT'S THE WAY THEY ARE, I DO NOT FEEL THEY
  8         ARE SAFE!!! *TR
  9         n.  November 7, 2014 TL* THE CONTACT OWNS A 2011
            CADILLAC SRX. THE CONTACT STATED THAT MOISTURE WAS
 10         ACCUMULATING IN THE FRONT PASSENGER’S SIDE
            HEADLIGHT LENS. AS A RESULT, THE LIGHT BECAME SO DIM
 11         THAT IT LOOKED AS IF ONLY ONE HEADLIGHT WAS
            ACTIVATED. THE VEHICLE WAS TAKEN TO THE DEALER. THE
 12         VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
            MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE
 13         FAILURE MILEAGE ON THE VEHICLE WAS 67,511.
 14         o.     February 2, 2017 I'VE HAD MY CAR FOR A LITTLE OVER
            A MONTH AND HONESTLY CANNOT SEE ANYTHING WITH THE
 15         HEADLIGHTS. WHEN I FLIP THEM OVER TO BRIGHTS, THEY
            ILLUMINATE THE ROADWAY PERFECTLY. ONCE I GO BACK
 16         TO NORMAL LIGHTING, NOTHING IS LIT. I'VE PULLED OVER A
            COUPLE OF TIMES TO MAKE SURE THE LIGHTS WERE
 17         ACTUALLY ON AND NOTHING WAS COVERING THE
            HEADLIGHTS. I AM VERY AFRAID THAT AN ACCIDENT WILL
 18         OCCUR BECAUSE I CAN'T SEE THE ROADWAY IN FRONT OF
            ME. PLEASE ADVISE IF THIS IS BEING LOOKED INTO. *TR
 19
            p.  January 22, 2016 FRONT HEADLIGHT ASSEMBLIES ARE
 20         DEFECTIVE AND ALLOW CONDENSATION TO BUILD UP
            BEHIND LENS CAUSING HEADLIGHTS TO BE LESS EFFECTIVE
 21         AND EVENTUALLY SHORT OUT ELECTRICAL SYSTEM. THIS
            CONDITION HAS OCCURRED TWICE (ON BOTH FRONT
 22         PASSENGER AND DRIVERS SIDE) SINCE I PURCHASED THIS
            VEHICLE IN 2014, MOST RECENTLY WHILE DRIVING HOME ON
 23         THE HIGHWAY AT NIGHT NEARLY CAUSING AN ACCIDENT.
            THESE DEFECTIVE HEADLIGHT ASSEMBLIES ARE VERY
 24         DANGEROUS AND SHOULD BE ADDRESSED, VIA A RECALL,
            BY CADILLAC ASAP. AN INTERNET SEARCH ON THIS ISSUE
 25         REVEALED HUNDRED OF SIMILAR COMPLAINTS AND I
            SUSPECT CADILLAC IS WELL AWARE OF THIS DEFECTIVE
 26         PART.
 27   2012 Cadillac SRX
 28         q.    December 22, 2014 TL* THE CONTACT OWNS A 2012

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  1         CADILLAC SRX. THE CONTACT STATED THAT WHILE DRIVING
            AT 35 MPH, THE LOW BEAM HEADLIGHTS FAILED. THE
  2         VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
            MANUFACTURER WAS NOTIFIED OF THE FAILURE. THE
  3         FAILURE MILEAGE WAS UNKNOWN. UPDATED 2/9/15*CN
  4         r.    February 13, 2015 TL* THE CONTACT OWNS A 2012
            CADILLAC SRX. THE CONTACT STATED THAT THE
  5         PASSENGER SIDE HEADLIGHT RECEIVED EXCESSIVE
            AMOUNTS OF MOISTURE, CAUSING THEM TO SHORT CIRCUIT.
  6         THE DEALER STATED THAT THE ENTIRE LIGHTING
            ASSEMBLY AND SEALS NEEDED TO BE REPAIRED. THE
  7         MANUFACTURER WAS MADE AWARE OF THE FAILURE. THE
            VEHICLE WAS NOT REPAIRED. THE FAILURE MILEAGE WAS
  8         52,485.
  9         s.  February 8, 2016 HEADLIGHTS HAVE WATER IN THEM
            CAUSING LOSS OF DRIVING VISABILITY AT NIGHT. DEALER
 10         REFUSES TO REPLACE THEM UNDER BUMPER TO BUMPER
            WARRANTY.
 11
            t.  April 8, 2016 LOW BEAM HEADLIGHT IS VERY POOR.
 12         VERY DIFFICULT TO SEE AND IS VERY DANGEROUS.
 13         u.   December 26, 2016 LOW BEAM HEADLAMPS ARE
            DISFUNCTIONAL. THEY ARE SO DIM, YOU CANNOT DRIVE
 14         THE VEHICLE AT NIGHT WITHOUT THE AIDE OF THE HIGH
            BEAM HEADLAMPS.
 15
            v.  January 7, 2017 VEHICLE LOW BEAM/DAYTIME RUNNING
 16         LIGHTS ILLUMINATION DOES NOT ALLOW YOU TO SEE THE
            ROAD AT NIGHT MAKING IT A SEVERE SAFETY HAZARD.
 17
      2013 Cadillac SRX
 18
            w.    April 13, 2016 TL* THE CONTACT OWNS A 2013 CADDILIAC
 19         SRX. THE CONTACT STATED THAT THE EXTERIOR
            HEADLAMPS HAD NOT EMITTED ENOUGH LIGHT WHILE
 20         DRIVING. THE CONTACT STATED THAT IT WAS DIFFICULT TO
            VIEW THE ROADS DURING NIGHT TIME DUE TO THE FAILURE.
 21         THE VEHICLE WAS TAKEN TO THE DEALER WHERE THE
            HEADLIGHTS WERE REPLACED HOWEVER, THE FAILURE
 22         RECURRED. THE MANUFACTURER WAS NOTIFIED OF THE
            FAILURE. THE FAILURE MILEAGE WAS APPROXIMATELY
 23         40,000. THE VIN WAS NOT PROVIDED.
 24   2014 Cadillac SRX
 25         x.   June 2, 2014 TL* THE CONTACT OWNS A 2014 CADILLAC
            SRX. THE CONTACT STATED THAT WHILE DRIVING AT NIGHT
 26         WITH THE LOW BEAM HEADLIGHTS ACTIVATED, THE LIGHTS
            WERE VERY DIM MAKING AND CAUSING THE CONTACT
 27         DIFFICULTY IN SEEING PAST 50 FEET IN FRONT OF THE
            VEHICLE. THE VEHICLE WAS TAKEN TO THE DEALER
 28         HOWEVER, THE FAILURE COULD NOT BE DIAGNOSED. THE

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  1         MANUFACTURER WAS NOT NOTIFIED OF THE ISSUE. THE VIN
            WAS NOT AVAILABLE. THE FAILURE MILEAGE WAS 200.
  2
            y.  November 27, 2016 EXTREMELY DIM LOW BEAM
  3         HEADLIGHTS. TOOK VEHICLE TO DEALER, THEY CONSULTED
            WITH GM. GM REPORTED THEY RECOMMENDED CHANGING
  4         THE LOW BEAMS, BUT IT MIGHT NOT CORRECT THE
            PROGRAM. HEADLIGHTS WERE REPLACE, DID NOT IMPROVE
  5         SITUATION. ATTEMPTED REPAIR AMOUNTED TO $255.00
  6         z.  February 7, 2017 THE LOW BEAMS ON OUR SRX ARE
            UNSAFE. WENT TO OUR DEALER AND WAS ADVISED THERE IS
  7         NO GM FIX AVAILABLE TO OUR CAR EXCEPT TO BUY BULBS
            FROM AFTER MARKET SOURCE AND THEY DID NOT
  8         RECOMMEND THAT SOLUTION. THE HEAD LIGHTS ON OUR
            CAR ARE UNSAFE. NOT ENOUGH LIGHT ON ROAD TO DRIVE
  9         SAFELY. THIS IS PARTICULARLY TRUE FOR US OLDER
            DRIVERS. SEEMS GM WOULD PUT GOOD HEADLIGHTS HIGH
 10         ON THEIR ENGINEERING REQUIREMENT LIST. THEY DID NOT
            DO SO WITH THE SRX. THIS MUST BE CORRECTED BEFORE
 11         SOMEONE IS HURTS OR KILLED.
 12         aa. February 22, 2017 LOW BEAM HEADLIGHTS ARE SO DIM
            THAT THEY ARE AN ACCIDENT IN WAITING. THEY DO NOT
 13         PROJECT FAR ENOUGH TO AVOID "OVER DRIVING" THEM.
            DEALER SAYS THEY ARE ADJUSTED TO SPEC. PEDESTRIANS
 14         ARE AT RISK AS IS THE RISK OF HITTING WILDLIFE. IN
            AMBIENT LIGHT, CANNOT TELL THE LIGHTS ARE EVEN ON!
 15         HAVE INSTALLED BRIGHTER BULBS TO NO AVAIL. THIS
            PROBLEM IS INHERENT IN THE CADILLAC AND NEEDS TO BE
 16         ADDRESSED AT THE NHTSA. PROBLEM NOTED ALL OVER THE
            WEB.
 17
            55.   Complaints posted by consumers in other public internet forums
 18
      similarly demonstrate that the defect is widespread. The complaints also indicate
 19
      Defendants’ awareness of the problems with the headlights and how potentially
 20
      dangerous the defective condition is for consumers. The following are examples
 21
      of complaints relating to the prevalence of the Headlight Defect (spelling and
 22
      grammar mistakes remain as found in the original):
 23
      CadillacForums.com: from Thread entitled “Head lamp condensation and
 24
      water penetration”5
 25
 26
            5
              CadillacForums.com, available at
 27   http://www.cadillacforums.com/forums/cadillac-srx-second-generation-forum-
      2010/637417-fix-leaking-headlights-water-condensation-moisture-2.html (last
 28   visited Sep. 15, 2017).
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  1               a. (posted 12-31-13 at 11:01pm by Andy_TN): Ok folks. Here's a new
  2                  one....My wife takes the SRX in today for the final warranty repair
  3                  list - headlight condensation being one of the items. The service
  4                  advisor admits that there is a big problem and GM has been
  5                  replacing a LOT of SRX headlinghts. It's so prevalent that now,
  6                  supposedly, the service advisors are supposed to convince the
  7                  customer that the condensation is not unusual and that GM will
  8                  NOT replace these anymore under warranty....unless it's really bad
  9                  and you've got a foot of water in the headlight assembly. As my
 10                  wife is explaining this to me, she and I both a bit shocked that the
 11                  advisor would openly admit the problem exists AND 'sell out' GM
 12                  by indicating their position on the issue. I guess he's trying to earn
 13                  points by being honest! Anyways, the dealer was so busy that we
 14                  weren't even able to leave the car today so an appointment was
 15                  made for next week. And while he admitted that he hadn't yet seen
 16                  how extensive the water is in our headlight, the feeling she got was
 17                  that they really are going to resist. Obviously, that's not going to be
 18                  acceptable. I'll be sure and update....
 19               b. (posted on 10-22-13 at 12:52pm by stevec5375): I heard back from
 20                  my dealership on my right front headlight. They have had my SRX
 21                  since Saturday morning and are still waiting on the headlight to
 22                  come in. According to my service adviser, there are a lot of 2010
 23                  models with this problem and headlights for that MY are getting in
 24                  short supply. So if you have the 2010 model you better hope yours
 25                  fails before the warranty runs out. These puppies are expensive if
 26                  paying out of pocket.
 27                 GM Had Exclusive Knowledge of the Headlight Defect
 28         56.      GM had superior and exclusive knowledge of the Headlight Defect

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  1   and knew or should have known that the defect was not known or reasonably
  2   discoverable by Plaintiffs and Class Members before they purchased or leased
  3   their Class Vehicles.
  4         57.    Plaintiffs are informed and believe and based thereon allege that
  5   before Plaintiffs purchased their Class Vehicles, and since at least 2010, GM
  6   knew about the Headlight Defect through sources in its exclusive custody and
  7   control and thus not available to consumers, including pre-production design
  8   failure mode and analysis data, production design failure mode and analysis data,
  9   pre-release testing data, early consumer complaints about the Headlight Defect to
 10   GM and its agents, testing conducted in response to those complaints, high
 11   failure rates and replacement part sales data, and other aggregate data from
 12   Cadillac dealers.
 13         58.    In fact, in December of 2011, Defendant issued a Customer
 14   Satisfaction Campaign (“CSC”) that identified a condition caused by the loss of
 15   electrical contact between the halogen headlamp connectors and low beam
 16   headlamp bulbs that “could cause the headlamp and/or daytime running lamp to
 17   work intermittently.” CSC No. 10043330-5822 offered to replace the headlamp
 18   connectors and low beam bulbs free of charge or to reimburse customers who
 19   previously had paid for this repair but did not identify the root cause of the
 20   malfunction or exclude the accumulation of moisture and/or condensation in the
 21   housing.
 22         59.    In addition, several iterations of a TSB regarding an inoperative low
 23   beam headlamp have been released since May 2010 to address the same issue.
 24   In May 2010, Defendant issued the initial TSB, Bulletin No. 10-08-42-001, that
 25   applied to various vehicles, including the 2010 Cadillac SRX, and excluded
 26   vehicles equipped with High Intensity Discharge lamps. The bulletin alerted
 27   service technicians that “[s]ome customers may comment that the low beam
 28   headlamp is inoperative.” The recommended procedure included replacing the

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  1   bulb and verifying any discoloration or damage to the connector that would
  2   require the replacement of that part too. The TSB was re-issued on or around
  3   January 24, 2011, as Bulletin No. 10-08-42-001A to add vehicles, including the
  4   SRX model year 2011, and update the relevant part number. Defendant
  5   subsequently updated the bulletin at regular intervals, releasing Bulletin No. 10-
  6   08-42-001C in February 2012, Bulletin No. 10-08-42-001D in November 2014,
  7   and Bulletin No. 10-08-42-001E in May 2015, which bulletin included the SRX
  8   model years 2010-2013. The repair procedure was also explained in far greater
  9   detail and included replacing the wiring harness and inspecting the connector for
 10   discoloration at the bulb interface. Like the CSC, they do not identify the root
 11   cause of the malfunction or exclude the accumulation of moisture and/or
 12   condensation in the housing.
 13         60.    The existence of the Headlight Defect is a material fact that a
 14   reasonable consumer would consider when deciding whether to purchase or lease
 15   a vehicle, and only the CSC would have been disseminated to consumers,
 16   leaving them to discovery the problems identified in the TSBs on their own. Had
 17   Plaintiffs and other Class Members known that the Class Vehicles were equipped
 18   with defective headlights, they would not have purchased or leased the Class
 19   Vehicles or would have paid less for them.
 20         61.    Reasonable consumers, like Plaintiffs, reasonably expect that a
 21   vehicle’s headlights are safe, will function in a manner that will not pose a safety
 22   hazard, and a free from defects. Plaintiffs and Class Members further reasonably
 23   expect that GM will not sell or lease vehicles with known safety defects, such as
 24   the Headlight Defect, and will disclose any such defects to consumers when it
 25   learns of them. Plaintiffs and Class Members did not expect GM to fail to
 26   disclose the Headlight Defect to them and to continually deny the defect.
 27                 GM Has Actively Concealed the Headlight Defect
 28         62.    While it has been fully aware of the Headlight Defect in the Class

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  1   Vehicles, GM actively concealed the existence and nature of the defect from
  2   Plaintiffs and Class Members at the time of purchase, lease or repair and
  3   thereafter. Specifically, GM failed to disclose or actively concealed at and after
  4   the time of purchase, lease, or repair:
  5                (a)   any and all known material defects or material nonconformity
  6                      of the Class Vehicles, including the defects relating to the
  7                      headlights;
  8                (b)   that the Class Vehicles, including their headlights, were not in
  9                      good in working order, were defective, and were not fit for
 10                      their intended purposes; and
 11                (c)   that the Class Vehicles and their headlights were defective,
 12                      despite the fact that GM learned of such defects through
 13                      failure rates, customer complaints, as well as through other
 14                      internal sources, as early as 2010.
 15         63.    In fact, GM has always emphasized the quality and reliability of the
 16   Class Vehicles and knows that consumers, including Plaintiffs and putative Class
 17   Members, rely upon such factors when purchasing or leasing Class Vehicles. For
 18   example, the Cadillac brochure “Introducing the All-New 2010 SRX Crossover,”
 19   assures consumers that “[e]very detail of the SRX Crossover has been carefully
 20   considered.”6 The brochure for the 2011 SRX extols its virtues and assures
 21   consumers specifically that “passenger safety is a primary consideration
 22   throughout the engineering process…[and] the SRX was designed to help avoid
 23   collisions.”7 The 2012 SRX brochure states categorically that the vehicles’
 24
            6
 25            Cadillac, “The All-New 2010 SRX Crossover,” available at
      http://www.motorologist.com/wp-content/uploads/2010-Cadillac-SRX-
 26   brochure.pdf (last visited Sep. 15, 2017).
             7
               Cadillac, “The 2011 SRX Crossover” available at
 27   http://www.cadillac.com/content/dam/Cadillac/Global/master/nscwebsite/en/hom
      e/Help_Center/Download_Brochure/01_images/Cadillac_2011_SRX.pdf (last
 28   visited Sep. 15, 2017).
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  1   “Adaptive Forward Lighting…provide[s] optimal illumination closer or farther
  2   down the road.”8 And the “2015 SRX” brochure asserts that the “available HD
  3   headlamps with Adaptive Forward Lighting help guide you around curves and
  4   corners at night.”9
  5         64.    Rather than repairing or replacing the defective headlights, GM
  6   issued a series of service bulletins advising its technicians to make repairs with
  7   the same defective parts. Furthermore, when consumers present the Class
  8   Vehicles to an authorized GM dealer for repair of the headlights, rather than
  9   repair the problem under warranty, GM dealers either inform consumers that
 10   their vehicle headlights are functioning properly, conduct repairs that merely
 11   mask the defect, or charge the customer for repairs.
 12         65.    Because the TSBs issued by GM since 2010 were not directly
 13   communicated to consumers, GM failed to disclose the defect to owners and
 14   lessors of the Class Vehicles, including Plaintiffs and members of the Classes,
 15   despite the fact that GM knew or should have known of the defect and its
 16   associated safety hazards,
 17         66.    To date, GM has still not modified or redesigned the components at
 18   issue, and the Headlight Defect remains unresolved.
 19         67.    On information and belief, GM has caused Plaintiffs and Class
 20   Members to expend money at its dealerships to diagnose, repair, or replace the
 21   Class Vehicles’ headlights and their component parts, despite GM’s knowledge
 22   of the Headlight Defect.
 23      TOLLING OF THE STATUTE OF LIMITATIONS AND ESTOPPEL
 24         68.    Any applicable statute of limitations has been tolled by Defendant’s
 25
            8
 26            Cadillac, “The 2012 Cadillac SRX,” available at
      http://www.motorologist.com/wp-content/uploads/2012-
 27   cadillac_srx_brochure.pdf (last visited Sep. 15, 2017).
             9
               Cadillac, “2015 SRX,” available at http://www.motorologist.com/wp-
 28   content/uploads/2015_Cadillac-SRX-brochure.pdf (last visited Sep. 15, 2017).
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  1   knowing and active concealment of the Headlight Defect and the omissions
  2   alleged herein. Through no fault or lack of diligence, Plaintiffs and Class
  3   Members were deceived regarding the defective headlights and could not
  4   reasonably discover the defect or Defendant’s deception with respect to it.
  5         69.      Plaintiffs and Class Members did not discover and did not know of
  6   any facts that would have caused a reasonable person to suspect that Defendant
  7   was concealing a defect and/or that the Class Vehicles were equipped with
  8   defective headlights or any corresponding safety hazard. As alleged herein, the
  9   existence of the Headlight Defect and the safety hazards it creates were material
 10   to Plaintiffs and the Class at all relevant times. Furthermore, Plaintiffs and Class
 11   Members could not have discovered through the exercise of reasonable diligence
 12   that Defendant was concealing the Headlight Defect during any applicable
 13   statutes of limitations.
 14         70.      At all times, Defendant is and was under a continuous duty to
 15   disclose to Plaintiffs and the Class the true standard, quality, and grade of the
 16   Class Vehicles and to disclose the Headlight Defect and associated safety
 17   hazards.
 18         71.      Defendant knowingly, actively, and affirmatively concealed the
 19   facts alleged herein, including the unreasonable safety hazards resulting from the
 20   alleged defects. Plaintiffs and Class Members reasonably relied on Defendant’s
 21   knowing, active, and affirmative concealment.
 22         72.      For these reasons, all applicable statutes of limitation have been
 23   tolled based on the discovery rule and Defendant’s fraudulent concealment, and
 24   Defendant is estopped from relying on any statutes of limitations in defense of
 25   this action.
 26                           CLASS ACTION ALLEGATIONS
 27         73.      Plaintiffs bring this lawsuit as a class action on behalf of themselves
 28   and all others similarly situated as members of the proposed Class pursuant to

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  1   Federal Rules of Civil Procedure 23(a) and 23(b)(3). This action satisfies the
  2   numerosity, commonality, typicality, adequacy, predominance, and superiority
  3   requirements of those provisions.
  4         74. The Class and Sub-Class are defined as:
  5                Nationwide Class: All individuals in the United States
                   who purchased or leased any 2010-2015 Cadillac SRX
  6                vehicle (the “Nationwide Class” or “Class”).
  7                California Sub-Class: All members of the Nationwide
                   Class who reside in the State of California.
  8
                   CLRA Sub-Class: All members of the California Sub-
  9                Class who are “consumers” within the meaning of
                   California Civil Code § 1761(d).
 10
                   Implied Warranty Sub-Class: All members of the
 11                Nationwide Class who purchased or leased their vehicles
                   in the State of California.
 12
            75.    Excluded from the Class and Sub-Classes are: (1) Defendant, any
 13
      entity or division in which Defendant has a controlling interest, and their legal
 14
      representatives, officers, directors, assigns, and successors; (2) the Judge to
 15
      whom this case is assigned and the Judge’s staff; (3) any Judge sitting in the
 16
      presiding state and/or federal court system who may hear an appeal of any
 17
      judgment entered; and (4) those persons who have suffered personal injuries as a
 18
      result of the facts alleged herein. Plaintiffs reserve the right to amend the Class
 19
      and Sub-Class definitions if discovery and further investigation reveal that the
 20
      Class and Sub-Classes should be expanded or otherwise modified.
 21
            76.    Numerosity: Although the exact number of Class Members is
 22
      uncertain and can only be ascertained through appropriate discovery, the number
 23
      is great enough such that joinder is impracticable. The disposition of the claims
 24
      of these Class Members in a single action will provide substantial benefits to all
 25
      parties and to the Court. The Class Members are readily identifiable from
 26
      information and records in Defendant’s possession, custody, or control, as well
 27
      as from records kept by the Department of Motor Vehicles.
 28

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  1         77.   Typicality: Plaintiffs’ claims are typical of the claims of the Class
  2   in that Plaintiffs, like all Class Members, purchased or leased a Class Vehicle
  3   designed, manufactured, and distributed by GM and equipped with the defective
  4   headlights. The representative Plaintiffs, like all Class Members, have been
  5   damaged by Defendant’s misconduct in that they have incurred or will incur the
  6   cost of repairing or replacing the defective headlight assemblies and/or their
  7   individual components. Furthermore, the factual bases of GM’s misconduct are
  8   common to all Class Members and represent a common thread resulting in injury
  9   to the Class as a whole.
 10         78.   Commonality: There are numerous questions of law and fact
 11   common to Plaintiffs and the Class that predominate over any question affecting
 12   only individual Class Members. These common legal and factual issues include
 13   the following:
 14               (a)    Whether Class Vehicles suffer from defects relating to the
 15                      headlights;
 16               (b)    Whether the defects relating to the headlights constitute an
 17                      unreasonable safety risk;
 18               (c)    Whether Defendant knows about the defects relating to the
 19                      headlights and, if so, how long Defendant has known of the
 20                      defect;
 21               (d)    Whether the defective nature of the headlights constitutes a
 22                      material fact;
 23               (e)    Whether Defendant has a duty to disclose the defective nature
 24                      of the headlights to Plaintiffs and Class Members;
 25               (f)    Whether Plaintiffs and Class Members are entitled to
 26                      equitable relief, including a preliminary and/or permanent
 27                      injunction;
 28               (g)    Whether Defendant knew or reasonably should have known of

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  1                      the defects relating to the headlights before it sold and leased
  2                      Class Vehicles to Class Members;
  3                (h)   Whether Defendant should be declared financially responsible
  4                      for notifying all Class Members of the problems with the
  5                      Class Vehicles and for the costs and expenses of repairing and
  6                      replacing the defective headlight assemblies and/or their
  7                      components;
  8                (i)   Whether Defendant is obligated to inform Class Members of
  9                      their right to seek reimbursement for having paid to diagnose,
 10                      repair, or replace their defective headlight assemblies and/or
 11                      components;
 12                (j)   Whether Defendant breached the implied warranty of
 13                      merchantability pursuant to the Magnuson-Moss Act; and
 14                (k)   Whether Defendant breached the implied warranty of
 15                      merchantability pursuant to the Song-Beverly Act.
 16         79.    Adequate Representation: Plaintiffs will fairly and adequately
 17   protect the interests of the Class Members. Plaintiffs have retained attorneys
 18   experienced in the prosecution of class actions, including consumer and product
 19   defect class actions, and Plaintiffs intend to prosecute this action vigorously.
 20         80.    Predominance and Superiority: Plaintiffs and Class Members have
 21   all suffered and will continue to suffer harm and damages as a result of
 22   Defendant’s unlawful and wrongful conduct. A class action is superior to other
 23   available methods for the fair and efficient adjudication of the controversy.
 24   Absent a class action, most Class Members would likely find the cost of
 25   litigating their claims prohibitively high and would therefore have no effective
 26   remedy at law. Because of the relatively small size of the individual Class
 27   Members’ claims, it is likely that only a few Class Members could afford to seek
 28   legal redress for Defendant’s misconduct. Absent a class action, Class Members

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  1   will continue to incur damages, and Defendant’s misconduct will continue
  2   without remedy. Class treatment of common questions of law and fact would
  3   also be a superior method to multiple individual actions or piecemeal litigation in
  4   that class treatment will conserve the resources of the courts and the litigants,
  5   and will promote consistency and efficiency of adjudication.
  6                             FIRST CAUSE OF ACTION
  7               (Violation of California’s Consumers Legal Remedies Act,
  8                         California Civil Code § 1750, et seq.)
  9         81.     Plaintiffs incorporate by reference the allegations contained in the
 10   preceding paragraphs of this Complaint.
 11         82.     Plaintiffs bring this cause of action on behalf of themselves and the
 12   CLRA Sub-Class.
 13         83.     Defendant is a “person” as defined by California Civil Code
 14   § 1761(c).
 15         84.     Plaintiffs and CLRA Sub-class Members are “consumers” within the
 16   meaning of California Civil Code § 1761(d) because they purchased their Class
 17   Vehicles primarily for personal, family, or household use.
 18         85.     By failing to disclose and actively concealing the defective nature of
 19   the headlights from Plaintiffs and prospective Class Members, Defendant
 20   violated California Civil Code § 1770(a), as it represented that the Class
 21   Vehicles and their headlights had characteristics and benefits that they do not
 22   have, and represented that the Class Vehicles and their headlights were of a
 23   particular standard, quality, or grade when they were of another. See Cal. Civ.
 24   Code §§ 1770(a)(5) & (7).
 25         86.     Defendant’s unfair and deceptive acts or practices occurred
 26   repeatedly in Defendant’s trade or business, were capable of deceiving a
 27   substantial portion of the purchasing public, and imposed a serious safety risk on
 28   the public.

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  1         87.    Defendant knew that the Class Vehicles and their headlights
  2   suffered from an inherent defect, were defectively designed, and were not
  3   suitable for their intended use.
  4         88.    As a result of their reliance on Defendant’s omissions, owners
  5   and/or lessees of the Class Vehicles suffered an ascertainable loss of money,
  6   property, and/or value of their Class Vehicles. Additionally, as a result of the
  7   Headlight Defect, Plaintiffs and Class Members were harmed and suffered actual
  8   damages in that the Class Vehicles’ headlight assemblies and their components
  9   are substantially certain to fail before their expected useful life has run.
 10         89.    Defendant was under a duty to Plaintiffs and Class Members to
 11   disclose the defective nature of the headlights and/or the associated repair costs
 12   because:
 13                (a)     Defendant was in a superior position to know the true state of
 14   facts about the safety defect in the Class Vehicles’ headlights;
 15                (b)     Plaintiffs and Class Members could not reasonably have been
 16   expected to learn or discover that their headlights had a dangerous safety defect
 17   until it manifested; and
 18                (c)     Defendant knew that Plaintiffs and Class Members could not
 19   reasonably have been expected to learn of or discover the safety defect.
 20         90.    In failing to disclose the defective nature of the headlights,
 21   Defendant knowingly and intentionally concealed material facts and breached its
 22   duty not to do so.
 23         91.    The facts Defendant concealed from or failed to disclose to
 24   Plaintiffs and Class Members are material in that a reasonable consumer would
 25   have considered them to be important in deciding whether to purchase or lease
 26   the Class Vehicles or pay less. Had they known that the Class Vehicles’
 27   headlights were defective, Plaintiffs would not have purchased or leased the
 28   Class Vehicles or would have paid less for them.

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  1         92.    Plaintiffs and Class Members are reasonable consumers who do not
  2   expect the headlights installed in their vehicles to exhibit problems such as
  3   extremely premature wear and frequent replacement or repair.
  4         93.    This is the reasonable and objective consumer expectation relating
  5   to vehicle headlights.
  6         94.    As a result of Defendant’s conduct, Plaintiffs and Class Members
  7   were harmed and suffered actual damages in that, on information and belief, the
  8   Class Vehicles experienced and will continue to experience problems such as the
  9   unexpected and premature wear and frequent replacement or repair of the
 10   vehicle’s headlights.
 11         95.    As a direct and proximate result of Defendant’s unfair or deceptive
 12   acts or practices, Plaintiffs and Class Members suffered and will continue to
 13   suffer actual damages.
 14         96. Plaintiffs and the Class are entitled to equitable relief.
 15         97.    Plaintiff Steele provided Defendant with notice of its violations of
 16   the CLRA pursuant to California Civil Code § 1782(a). Defendant failed to
 17   provide appropriate relief for their violations of the CLRA within 30 days.
 18   Therefore, Plaintiffs seek monetary, compensatory, and punitive damages, in
 19   addition to injunctive and equitable relief.
 20                            SECOND CAUSE OF ACTION
 21       (Violation of California Business & Professions Code § 17200, et seq.)
 22         98.    Plaintiffs incorporate by reference the allegations contained in the
 23   preceding paragraphs of this Complaint.
 24         99.    Plaintiffs bring this cause of action on behalf of themselves and the
 25   California Sub-Class.
 26         100. As a result of their reliance on Defendant’s omissions, owners
 27   and/or lessees of the Class Vehicles suffered an ascertainable loss of money,
 28   property, and/or value of their Class Vehicles. Additionally, as a result of the

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  1   Headlight Defect, Plaintiffs and Class Members were harmed and suffered actual
  2   damages in that the Class Vehicles’ headlight assemblies and their components
  3   are substantially certain to fail before their expected useful life has run.
  4            101. California Business & Professions Code § 17200 prohibits acts of
  5   “unfair competition,” including any “unlawful, unfair or fraudulent business act
  6   or practice” and “unfair, deceptive, untrue or misleading advertising.”
  7            102. Plaintiffs and Class Members are reasonable consumers who do not
  8   expect their headlights to exhibit problems such as unexpected and premature
  9   wear leading to catastrophic failure and frequent replacement or repair.
 10            103. Defendant knew the Class Vehicles and their headlights suffered
 11   from inherent defects, were defectively designed or manufactured, would fail
 12   prematurely, and were not suitable for their intended use.
 13            104. In failing to disclose the defects with the headlights, Defendant has
 14   knowingly and intentionally concealed material facts and breached its duty not to
 15   do so.
 16            105. Defendant was under a duty to Plaintiffs and Class Members to
 17   disclose the defective nature of the Class Vehicles and their headlights because:
 18                  (a)   Defendant was in a superior position to know the true state of
 19                        facts about the safety defect in the Class Vehicles’ headlights;
 20                  (b)   Defendant made partial disclosures about the quality of the
 21                        Class Vehicles without revealing the defective nature of the
 22                        Class Vehicles and their headlights; and
 23                  (c)   Defendant actively concealed the defective nature of the Class
 24                        Vehicles and their headlights from Plaintiffs and the Class.
 25            106. The facts Defendant concealed from or did not disclose to Plaintiffs
 26   and Class Members are material in that a reasonable person would have
 27   considered them to be important in deciding whether to purchase or lease Class
 28   Vehicles. Had they known that the Class Vehicles’ headlights were defective

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  1   and posed a safety hazard, then Plaintiffs and the other Class Members would
  2   not have purchased or leased Class Vehicles equipped with the headlights or
  3   would have paid less for them.
  4         107. Defendant continued to conceal the defective nature of the Class
  5   Vehicles and their headlights even after Class Members began to report
  6   problems. Indeed, Defendant continues to cover up and conceal the true nature
  7   of the problem.
  8         108. Defendant’s conduct was and is likely to deceive consumers.
  9         109. Defendant’s acts, conduct and practices were unlawful, in that they
 10              constituted:
 11                 (a)   Violations of California’s Consumers Legal Remedies Act;
 12                 (b)   Violations of the Song-Beverly Consumer Warranty Act;
 13                 (c)   Violations of the Magnuson-Moss Warranty Act.
 14         110. By its conduct, Defendant has engaged in unfair competition and
 15   unlawful, unfair, and fraudulent business practices.
 16         111. Defendant’s unfair or deceptive acts or practices occurred
 17   repeatedly in Defendant’s trade or business and were capable of deceiving a
 18   substantial portion of the purchasing public.
 19         112. As a direct and proximate result of Defendant’s unfair and deceptive
 20   practices, Plaintiffs and the Class have suffered and will continue to suffer actual
 21   damages.
 22         113. Defendant has been unjustly enriched and should be required to
 23   make restitution to Plaintiffs and the Class pursuant to §§ 17203 and 17204 of
 24   the Business & Professions Code.
 25                             THIRD CAUSE OF ACTION
 26               (Breach of Implied Warranty Pursuant to Song-Beverly
 27    Consumer Warranty Act, California Civil Code §§ 1792 and 1791.1, et seq.)
 28         114. Plaintiffs incorporates by reference the allegations contained in the

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  1   preceding paragraphs of this Complaint.
  2         115. Plaintiffs bring this cause of action against Defendant on behalf of
  3   themselves and the Implied Warranty Sub-Class.
  4         116. Plaintiffs’ vehicles are “consumer goods” within the meaning of the
  5   Song-Beverly Consumer Warranty Act, Cal. Civ. Code 1795.5, and Plaintiff
  6   Steele was given an express warranty by GM.
  7         117. Defendant was at all relevant times the Distributor of the Class
  8   Vehicles. Further, Defendant administered, supervised, and approved the
  9   certification of “certified pre-owned” vehicles sold at its authorized dealerships.
 10   Defendant also knew or had reason to know of the specific use for which the
 11   Class Vehicles were purchased or leased.
 12         118. Defendant is a “distributor” within the meaning of the Song-Beverly
 13   Consumer Warranty Act, Cal. Civ. Code § 1791(e), and stands between the
 14   manufacturer and the retail seller in purchases, consignments, or contracts for
 15   sale of consumer goods as the entity responsible for certification of pre-owned
 16   vehicles.
 17         119. Defendant was at all relevant times the manufacturer, distributor,
 18   warrantor, and/or seller of the Class Vehicles. Defendant knew or had reason to
 19   know of the specific use for which the Class Vehicles were purchased or leased.
 20         120. Defendant provided Plaintiffs and Class Members with an implied
 21   warranty that the Class Vehicles and their components and parts are
 22   merchantable and fit for the ordinary purposes for which they were sold.
 23   However, the Class Vehicles are not fit for their ordinary purpose of providing
 24   reasonably reliable and safe transportation because, inter alia, the Class Vehicles
 25   and their headlights suffered from an inherent defect at the time of sale and
 26   thereafter are not fit for their particular purpose of providing safe and reliable
 27   transportation.
 28         121. Defendant impliedly warranted that the Class Vehicles were of

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  1   merchantable quality and fit for such use. This implied warranty included,
  2   among other things: (i) a warranty that the Class Vehicles and their headlights,
  3   manufactured, supplied, distributed, and/or sold by GM, were safe and reliable
  4   for providing transportation; and (ii) a warranty that the Class Vehicles and their
  5   headlights would be fit for their intended use while the Class Vehicles were
  6   being operated.
  7         122. Contrary to the applicable implied warranties, the Class Vehicles
  8   and their headlights, at the time of sale and thereafter, were not fit for their
  9   ordinary and intended purpose of providing Plaintiffs and Class Members with
 10   reliable, durable, and safe transportation, including at night and in inclement
 11   weather. Instead, the Class Vehicles are defective, including the defective
 12   design of their headlights.
 13         123. The Headlight Defect is inherent and was present in each Class
 14   Vehicle at the time of sale.
 15         124. As a result of Defendant’s breach of the applicable implied
 16   warranties, owners and/or lessees of the Class Vehicles suffered an ascertainable
 17   loss of money, property, and/or value of their Class Vehicles. Additionally, as a
 18   result of the Headlight Defect, Plaintiffs and Class Members were harmed and
 19   suffered actual damages in that the Class Vehicles’ headlight assemblies and
 20   their components are substantially certain to fail before their expected useful life
 21   has run.
 22         125. Defendant’s actions, as complained of herein, breached the implied
 23   warranty that the Class Vehicles were of merchantable quality and fit for such
 24   use in violation of California Civil Code §§ 1792 and 1791.1.
 25                            FOURTH CAUSE OF ACTION
 26     (Breach of Implied Warranty under the Magnuson-Moss Warranty Act,
 27                                  15 U.S.C. § 2303 et seq.)
 28         126. Plaintiffs incorporate by reference the allegations contained in the

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  1   preceding paragraphs of this Complaint.
  2         127. Plaintiffs bring this cause of action on behalf of themselves and the
  3   Nationwide Class, or, in the alternative, the California Sub-Class, against
  4   Defendant.
  5         128. The Class Vehicles are a “consumer product” within the meaning of
  6   the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).
  7         129. Plaintiffs and Class Members are “consumers” within the meaning
  8   of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
  9         130. Defendant is a “supplier” and “warrantor” within the meaning of the
 10   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).
 11         131. GM impliedly warranted that the Class Vehicles were of
 12   merchantable quality and fit for such use. This implied warranty included,
 13   among other things: (i) a warranty that the Class Vehicles and their headlights,
 14   manufactured, supplied, distributed, and/or sold by GM, were safe and reliable
 15   for providing transportation; and (ii) a warranty that the Class Vehicles and their
 16   headlights would be fit for their intended use while the Class Vehicles were
 17   being operated.
 18         132. Contrary to the applicable implied warranties, the Class Vehicles
 19   and their headlights, at the time of sale and thereafter, were not fit for their
 20   ordinary and intended purpose of providing Plaintiffs and Class Members with
 21   reliable, durable, and safe transportation. Instead, the Class Vehicles are
 22   defective, including the defective design of their headlights.
 23         133. Defendant’s breach of implied warranties has deprived Plaintiffs
 24   and Class Members of the benefit of their bargain.
 25         134. The amount in controversy of Plaintiffs’ individual claims meets or
 26   exceeds the sum or value of $25,000. In addition, the amount in controversy
 27   meets or exceeds the sum or value of $50,000 (exclusive of interests and costs)
 28   computed on the basis of all claims to be determined in this suit.

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  1         135. Defendant has been afforded a reasonable opportunity to cure its
  2   breach, including when Plaintiffs and Class Members brought their vehicles in
  3   for diagnoses and repair of the headlights.
  4         136. As a direct and proximate cause of Defendant’s breach of implied
  5   warranties, Plaintiffs and Class Members sustained damages and other losses in
  6   an amount to be determined at trial. Defendant’s conduct damaged Plaintiffs and
  7   Class Members, who are entitled to recover actual damages, consequential
  8   damages, specific performance, diminution in value, costs, attorneys’ fees,
  9   and/or other relief as appropriate.
 10         137. As a result of Defendant’s violations of the Magnuson-Moss
 11   Warranty Act as alleged herein, Plaintiffs and Class Members have incurred
 12   damages.
 13                                RELIEF REQUESTED
 14         138. Plaintiffs, on behalf of themselves and all others similarly situated,
 15   request the Court to enter judgment against Defendant, as follows:
 16                (a)   An order certifying the proposed Class and Sub-Classes,
 17                      designating Plaintiffs as named representative of the Class,
 18                      and designating the undersigned as Class Counsel;
 19                (a)   A declaration that Defendant is financially responsible for
 20                      notifying all Class Members about the defective nature of the
 21                      headlights, including the need for periodic maintenance;
 22                (b)   An order enjoining Defendant from further deceptive
 23                      distribution, sales, and lease practices with respect to Class
 24                      Vehicles; compelling Defendant to issue a voluntary recall for
 25                      the Class Vehicles pursuant to. 49 U.S.C. § 30118(a);
 26                      compelling Defendant to remove, repair, and/or replace the
 27                      Class Vehicles’ defective headlight components with suitable
 28                      alternative product(s) that do not contain the defects alleged

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  1                     herein; enjoining Defendant from selling the Class Vehicles
  2                     with the misleading information; and/or compelling
  3                     Defendant to reform its warranty, in a manner deemed to be
  4                     appropriate by the Court, to cover the injury alleged and to
  5                     notify all Class Members that such warranty has been
  6                     reformed;
  7               (c)   A declaration requiring Defendant to comply with the various
  8                     provisions of the Song-Beverly Act alleged herein and to
  9                     make all the required disclosures;
 10               (d)   An award to Plaintiffs and the Class for compensatory,
 11                     exemplary, and statutory damages, including interest, in an
 12                     amount to be proven at trial;
 13               (e)   Any and all remedies provided pursuant to the Song-Beverly
 14                     Act, including California Civil Code section 1794;
 15               (f)   Any and all remedies provided pursuant to the Magnuson-
 16                     Moss Warranty Act;
 17               (g)   A declaration that Defendant must disgorge, for the benefit of
 18                     the Class, all or part of the ill-gotten profits it received from
 19                     the sale or lease of its Class Vehicles or make full restitution
 20                     to Plaintiffs and Class Members;
 21               (h)   An award of attorneys’ fees and costs, as allowed by law;
 22               (i)   An award of attorneys’ fees and costs pursuant to California
 23                     Code of Civil Procedure § 1021.5;
 24               (j)   An award of pre-judgment and post-judgment interest, as
 25                     provided by law;
 26               (k)   Leave to amend the Complaint to conform to the evidence
 27                     produced at trial; and
 28   //

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  1                 (l)   Such other relief as may be appropriate under the
  2                       circumstances.
  3                            DEMAND FOR JURY TRIAL
  4          139. Plaintiffs demand a trial by jury of any and all issues in this action
  5   so triable.
  6
  7   Dated: September 15, 2017                 Respectfully submitted,
  8                                             Capstone Law APC
  9
 10                                         By: /s/ Jordan L. Lurie
                                                Jordan L. Lurie
 11                                             Tarek H. Zohdy
                                                Cody R. Padgett
 12                                             Karen L. Wallace
 13                                             Attorneys for Plaintiffs
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